           Case 2:05-cr-00145-JAM Document 24 Filed 05/23/05 Page 1 of 2

 1   QUIN DENVIR, Bar No. 49374
     Federal Defender
 2   801 I Street, Third Floor
     Sacramento, California 95814
 3   Telephone: (916) 498-5700

 4   Attorney for Defendant                             OK/HAV
     ROSALVA BERNAL
 5
 6
 7
 8                    IN THE UNITED STATES DISTRICT COURT

 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11
12   UNITED STATES OF AMERICA,     ) CR S-05-00145 DFL
                                   )
13                  Plaintiff,     )
                                   )
14        v.                       ) STIPULATION AND [PROPOSED]
                                   ) ORDER
15   ROSALVA BERNAL, et al.,       )
                                   )
16                  Defendants.    )
     ______________________________)
17
18
               Plaintiff   United    States   of   America,   by   its     attorney,
19
     Assistant United States Attorney Jason Hitt, defendant Rosalva Bernal,
20
     by her attorney, Federal Defender Quin Denvir, and defendant Benito
21
     Ledesma, by his attorney, Maria Fonseca, hereby stipulate and agree
22
     that the current motion schedule should be modified as follows:
23
               Defense motions due no later than May 26, 2005;
24
               Government opposition due by June 16, 2005;
25
               Defendants' reply due by June 23, 2005;
26
               Non-evidentiary hearing on June 30, 2005 at 10:00 a.m.
27
28

                                          1
            Case 2:05-cr-00145-JAM Document 24 Filed 05/23/05 Page 2 of 2

 1                                       Respectfully submitted,

 2                                       MCGREGOR SCOTT
                                         United States Attorney
 3
 4
     DATED: May 18, 2005                 /s/ Quin Denvir
 5                                       Telephonically authorized to sign
                                         for JASON HITT
 6                                       Assistant U. S. Attorney

 7                                       Attorney for Plaintiff

 8
 9
     DATED: May 18, 2005                 /s/ Quin Denvir
10                                       QUIN DENVIR
                                         Federal Defender
11
                                         Attorney for Defendant Bernal
12
13
14   DATED: May 18, 2005                 /s/ Quin Denvir
                                         Telephonically authorized to sign
15                                       for MARIA FONSECA
                                         Attorney at Law
16
                                         Attorney for Benito Ledesma
17
18
19                                     O R D E R

20         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

21
22   DATED: May 19, 2005         _____

23
24
25                                              DAVID F. LEVI
                                                United States District Judge
26
27
28
     U.S. v. Bernal
     CR S-05-0145 DFL
     Stip/Proposed Order                    2
